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                                                               U.S. Department of Justice
                                                               United States Marshals Service
                                                               75 Ted Turner Drive S. W. Suite 1600
                                                               Atlanta, GA 30303

Michael Yeager                                                 OCTOBER 07, 2022
US. Marshal


                                                                                          FILED IN CLERK'S OFFICE
                                                                                              U.S.D.C. -Atlanta


                                                                                            OCT     Ol 2022
       Ms. MITZI BICKERS
       USMS# 71557-019
       CASE# 1: 18-CR-00098-SCJ


       Dear Ms. BICKERS

       Pursuant to the sentence you received in federal court in the Northern District of Georgia,
       you are hereby directed to report to the following institution to begin service of your
       federal sentence.

                              INSTITUTION:           FCI Marianna SCP
                                                     3625 FCI Road
                                                     Marianna, FL 32446

                              TELEPHONE NO.:         (850) 526-2313

                              REPORT DATE:           NOON, NOVEMBER 08, 2022

       Any further inquiries should be directed to the institution at the telephone number listed
       above.

                                                     Respectfully,

                                                     Michael Yeager
                                                     United States Marshal




                                                     Criminal Section
